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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

JOHNY R. VELASQUEZ
and other similarly situated
individuals,

             Plaintiff,

v.                                             CASE NO. 3:20-cv-1244-BJD-JBT

KARMAS FAR INC,

             Defendant.
                                      /

                                     ORDER

      THIS CAUSE is before the Court on Defendant’s counsel’s Motion to

Withdraw as Counsel for Defendant (“Motion”) (Doc. 18). For the reasons stated

herein, the Motion is due to be TAKEN UNDER ADVISEMENT.

      Heather M. Meglino, Esq. of Spire Law, LLC (“Counsel”) seeks to withdraw

as counsel for Defendant. The Motion states that Defendant has not paid its

outstanding invoices, resulting in an unreasonable financial burden on Counsel.

(Id. at 2.) Thus, the Motion appears to provide sufficient grounds for withdrawal.

See Fla. R. Prof. Conduct 4-1.16(b)(4). However, it is not clear whether Defendant

intends to obtain new counsel, or how it otherwise intends to proceed in this

action. 1 Therefore, Defendant must respond in writing to this Order.



      1 In general, corporations may appear and be heard only through counsel. See
Thornton v. Hosp. Mgmt. Assocs., Inc., 787 F. App’x 634, 637 (11th Cir. 2019) (“A
(continued on next page . . . )
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      Accordingly, it is ORDERED:

      1.     The Motion (Doc. 18) is TAKEN UNDER ADVISEMENT.

      2.     On or before March 22, 2021, Defendant shall either have its

successor counsel file a notice of appearance or, if no successor counsel is

retained by that date, Defendant shall file a notice stating how it intends to proceed.

Failure to respond to this Order may result in entry of a default, and a default

judgment, against Defendant.

      3.     The Clerk of Court is DIRECTED to send copies of this Order to

Defendant directly by U.S. Mail and email using the contact information listed

below.

      DONE AND ORDERED in Jacksonville, Florida, on March 1, 2021.




Copies to:

Counsel of Record

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corporation is an artificial entity that cannot appear pro se and must be represented by
counsel.”).



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